Case 2:04-CV-02951-BBD-tmp Document 15 Filed 08/31/05 Page 1 of 2 Page|D 25

UNITED sTATEs DIsTRIcT comm F"£° BY -%`_ D-C.
wEsTERN DIsTRIc'r oF TENNESSEE

 

wESTERN DIVISION 05 AUG 3' PH ‘*’ 5‘*
wlLLIAM BILDERBACK, ) M/b%§ WEWPYH
Plaintiff, )
v. ) Case No. 04-2951 D/P
BARNHART cRANE AND RIGGING )
Defendant. )

 

ORDER GRANTING PART[ES’ JOINT MOTION TO EXTEND THE DISCOVERY
AND DISPOSITIVE MOTIONS DEADLINES BY SIXTY (60} DAYS

 

Before the court is the Parties’ Joint Motion to Extend the Discovery and Dispositve
Motion Deadlines by Sixty (60) Days and to Continue the Trial. For good cause shown, the
motion is GRANTED. Accordingly, the Scheduling Order is revised such that:

(a) the discovery period, including expert discovery, shall expire on February
3, 2006;

(b) Plaintifl’s Rule 26 (a)(Z) Expert Disclosures shall be due on October 28,
2005;

(c) Defendant’s Rule 26(3)(2) Expert Disclosures shall be due on all
November 28, 2005 ;

(d) Expert Witness Depositions shall be completed by February 3, 2006; and
(e) Dispositive motions must be filed by no later than March 6, 2006.

(f) the trial is continued until timber notice from the Court.

lt is so ORDERED, this ,[.Z day of ¢Zf¢zfaif , 2005.

sell 'ce Donald
sTATES DISTRICT COURT JUD

 

 
 
 

Thls document entered on the docket sheet i _
with Rule 58 and Z`Q(a`, i ..JH on

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 15 in
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September 7, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

